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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION AT LEXINGTON
                             CIVIL ACTION NO. 5:19-CV-00394-KKC
                                      -electronically filed-

 ELIZABETH NIBLOCK and ALA HASSAN, Individually
 and on behalf of all those similarly situated                                            PLAINTIFFS

 v.                                  JOINT STATUS REPORT

 UNIVERSITY OF KENTUCKY,
 MITCH BARNHART and ELI CAPILOUTO in their official capacities                         DEFENDANTS

                                          ***** ***** *****

         The parties submit this joint status report to report on the parties’ discussions following the

 status conference held on March 23, 2022, and in advance of the status conference scheduled for

 April 27, 2022.

         Regarding the trial date, at the March 23, 2022 status conference the Court provided

 options for trial dates available on the Court’s calendar, including the week of August 15, 2022.

 Plaintiffs request the trial begin on Monday, August 15. The parties have discussed the issues that

 will be presented to the Court, and based upon key issues that cannot be agreed upon by the Parties,

 Plaintiff believes all five days will be necessary for the trial. Defense counsel has prearranged

 travel commitments the prior weekend that may preclude trial beginning timely on Monday August

 15. Defendants therefore request, if convenient to the Court’s calendar, that the trial begin on

 Tuesday, August 16.

         The parties expect that there will be few objections to exhibits and the parties will confer

 to attempt to stipulate to trial exhibits. The parties will jointly submit a trial exhibit list for which

 there is no issue as to authenticity and no objection to admissibility other than FRE 402 and 403.

         To address these issues, the parties propose the following deadlines:
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        1. The parties shall exchange witness and exhibit lists no later than June 15, 2022.

        2. No later than July 1, 2022, the parties shall file witness lists and jointly submit an

            exhibit list identifying trial exhibits expected to be used by either party for which the

            parties agree there is no issue as to authenticity and no objections to admissibility other

            than objections under FRE 402 and 403. In the event there are exhibits the parties are

            unable to agree on, the parties shall separately file exhibit lists identifying the exhibits

            on which the parties could not agree and include objections to any exhibits that were

            not included on the jointly submitted list.

        3. No later than July 11, 2022, each party shall file a pretrial memorandum identifying the

            factual and legal issues for trial, the party’s position on the appropriate legal standard

            to apply, and the party’s position on the application of that standard.

        4. No later than August 1, 2022, the parties may file responses to pretrial memoranda.

        The parties look forward to discussing these issues with the Court at the April 27, 2022

 status conference.

                                        Jointly submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 27, 2022 the foregoing document was electronically filed with
 the Clerk of this Court using the CM/ECF eFiling system, which will send a notice of electronic
 filing to counsel of record.

                                               /s/ Bryan H. Beauman
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